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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Greenbelt Division

 JACINTA ELDER,
 9004 Crowne Springs Circle, # 103
 Louisville KY 40241
                                 Plaintiff,

 v.                                                              Civil Action No. ______________

 RYAN SULLIVAN, ASHLEY BLAKE COLLINS,
 RAYCEN RAINES, GENEVA LONE HILL, and
 WAKPAMNI LAKE COMMUNITY
 CORPORATION,

                                    Defendants.

                                CLASS ACTION COMPLAINT

       COMES NOW Plaintiff, Jacinta Elder (“Plaintiff”), by counsel, and for her Class Action

Complaint against Defendants, she alleges as follows:

                                        INTRODUCTION

       1.      In an attempt to circumvent state usury, payday lending, and consumer fraud

statutes, Defendants Ryan Sullivan, Ashley Blake Collins, Raycen Raines, and others created and

operated several criminal enterprises to market and collect illegal “payday” loans. In an apparent

attempt to insulate themselves from any legal liability, Defendants established what is similar to a

“rent-a-tribe” business model, where a payday lending scheme associates with a Native American

tribe in an attempt to cloak itself in the privileges and immunities enjoyed by the tribe—or to at

least create the illusion that it enjoys tribal immunity. However, in this case, Defendants did not

associate with an actual Native American tribe and instead claimed to be affiliated with a tribe that

does not appear to exist.

       2.      To facilitate their blatant violations of state interest-rate lending laws, Defendants

helped form the Wakpamni Lake Community Corporation (“WLCC”)—a holding company—
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organized by several rogue members of the Oglala Sioux Tribe to facilitate their making of loans

at annual interest rates in excess of 700%. Even though the Oglala Sioux Tribe rejected the

business venture in 2011, Defendants nonetheless started the WLCC and proceeded to make high-

interest loans through various websites that claimed to be owned and operated by the WLCC. See,

e.g., Nicholas Nehamas, The Tribe That Said No: How One Rogue Tribal Member Tried to Drag

the Oglala Sioux Into Payday Lending, AL JAZEERA AMERICA (June 18, 2014),

http://projects.aljazeera.com/2014/payday-nation/sioux-tribe-pay.html (last visited on June 28,

2017). Because Defendants could not get the Oglala Sioux Tribe to participate in their scheme,

WLCC broadly held itself out as a tribal entity “owned” by the “Sioux Indians, South Dakota,”

i.e., a tribe that does not exist.1 These misrepresentations were part of an integrated scheme to

misrepresent the WLCC’s purported immunity, violate public policy, and deprive consumers of

legal remedies and their day in court.

       3.      This lawsuit challenges the WLCC’s claims of sovereign immunity and seeks to

disgorge the unlawful profits made by the WLCC, its members, any third parties, and their

principals, who run all aspects of the lending business off tribal lands and without tribal


1
  There is no tribe called the “Sioux Indians” in South Dakota, nor is there any tribe that would
refer to itself as such. The Great Sioux Nation is a confederacy of tribes consisting of sixteen
modern day tribes. Steven J. Gunn, Compacts, Confederacies, and Comity: Intertribal
Enforcement of Tribal Court Orders, 34 N.M. L. Rev. 297, 325 (2004). It is comprised of three
distinct dialect groups: the Lakota, Dakota, and Nakota. Alexandra New Holy, The Heart of
Everything That Is: Paha Sapa, Treaties, and Lakota Identity, 23 Okla. City U. L. Rev. 317, 352
n.1 (1998). The Oglala Sioux Tribe is a part of the Lakota, which is the western-most nation of the
Great Sioux Nation consisting of seven bands located on the Pine Ridge, Rosebud, Cheyenne
River, Standing Rock, Crow Creek, Flandreau, and Lower Brule reservations in South Dakota and
North Dakota as well as the Fort Peck reservation in Montana. Id. “Although united by tradition,
history, culture, and [an inter-tribal legislative body], the various Sioux tribes occupy separate
reservations and have separate and distinct legal systems.” Gunn, supra, at 338 n.198; see
generally South Dakota Tribal Court Handbook (2006), (describing the distinct legal systems of
the           various         South            Dakota          tribes),        available         at
https://ujs.sd.gov/media/docs/IndianLaw%20Handbook.pdf.


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involvement, including underwriting, funding, and collection of the loans. Even if the “Sioux

Indians” of South Dakota was a valid Native American tribe that was affiliated with the enterprise

pled herein, Defendants would not benefit from tribal immunity. Although the doctrine of tribal

sovereign immunity protects tribes, it does not automatically extend to economic subdivisions of

a tribe, and the Court must determine whether these entities are “analogous to a governmental

agency, which should benefit from sovereign immunity” or whether they are more like a

“commercial business enterprise, instituted for the purpose of generating profits for [their] private

owners.”2 In this case, nearly all of the profits of the scheme went to non-tribal participants, the

scheme was operated by non-tribal members, and the scheme was specifically designed for the

purpose of evading state usury laws. Thus, even if it were technically incorporated under the laws

of an actual tribe, extending the protections of tribal immunity to this scheme would not serve the

policies underlying tribal sovereign immunity.

       4.      Based on Defendants’ conduct, Plaintiff alleges violations of the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), which prohibits any person employed by or

associated with an enterprise from collecting “unlawful debt.” RICO defines “unlawful debt” as a

debt incurred in “the business of lending money or a thing of value at a rate usurious under State

or Federal law, where the usurious rate is at least twice the enforceable rate.” 18 U.S.C. § 1961(6)

(emphasis added). Consistent with their standard policies, Defendants charged Plaintiff with an

annual interest rate in excess of 735%—more than 30 times the enforceable rate in Maryland.

Defendants acted in concert to repeatedly violate Maryland’s consumer loan and usury laws and

collected unlawful debts from Plaintiff and the putative class members.



2
 Breakthrough Mgmt. Grp., Inc. v. Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1184 (10th
Cir. 2010) (citing Gavle v. Little Six, Inc., 555 N.W.2d 284, 293 (Minn.1996)).


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       5.      Plaintiff also alleges a class claim pursuant to Maryland’s interest and usury law,

which prohibits any company from making such loans to Maryland residents at annual percentage

rates in excess of 24% unless certain exceptions not present here have been met. Md. Code, Com.

Law § 12-103(c)(1)-(2). If an unlicensed lender makes a loan for less than $6,000 and charges

interest in excess of 24%, such loans are void and unenforceable and the lender or any third-party

may not collect, obtain or receive any principal, interest, or charges whatsoever on said loans. Md.

Code, Com. Law § 12-314; see also In the Matter of: Archway Holdings Group, LLC, 2014

3645140, at *1 (MD Comm. Fin. Regs. 2014). Defendants’ Payday Lending Companies are not,

and have not been, licensed by the Maryland Commissioner of Financial Regulation to provide

short-term consumer loans under the MCCL. Accordingly, Plaintiff seeks to disgorge all payments

made by Maryland consumers plus three times the interest paid to Defendants. Md. Code, Com.

Law § 12-314(b)(2); Md. Code, Com. Law § 12-114.

       6.      Finally, Plaintiff seeks a declaratory judgment that Defendants’ arbitration and

choice-of-law provisions are unenforceable as a matter of public policy and because the provisions

attempt to deprive consumers of both a remedy and of a day in court. Defendants’ arbitration and

choice-of-law provisions are illusory, unreasonable, and unconscionable because the loan

agreements indicate that the “laws of the Tribe will govern this Agreement.” (See generally July

1, 2013 Loan Agreement, attached as Exhibit 1). Moreover, Defendants’ arbitration and choice-

of-law provisions are unenforceable because it violates public policy concerns in Maryland and

was procured through misrepresentations, including that WLCC was “wholly owned” and

“operated by” a nonexistent tribe. These misrepresentations created the appearance that Plaintiff

and the class members were doing business with a legitimate tribal government when, in reality,

all aspects of the transaction were controlled by non-tribal participants like Sullivan and Collins.



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                                  JURISDICTION AND VENUE

       7.        This Court has jurisdiction pursuant to 18 U.S.C. § 1965 and 15 U.S.C. § 1692k(d).

The Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. §§ 1367 and

1332(d)(2).

       8.        Venue is proper in this Court under 28 U.S.C. § 1391(b) and Local Rule

501(4)(b)(iii) because of the events described in this Complaint took place in this District and

Division.

                                              PARTIES

       9.        Plaintiff Jacinta Elder is a natural person who resided in this District and Division

at the time during which a substantial part of the events or omissions giving rise to the claims

asserted herein occurred.

       10.       Defendant Ryan Sullivan (“Sullivan”), is a natural person who resides in Kansas

City, Missouri. During all times relevant hereto, Sullivan directed, controlled and owned some of

the   internet     lending     websites    described     above,    including    SeasidePayday.com,

BeachsideCash.com, Blvdcash.com, FiresideCash.com, Baysidecash.com, and Whisper Rock,

LLC, which he set up to market and collect illegal loans under the disguise of the WLCC. Sullivan

is one of the architects of the illegal enterprise described herein and had direct personal

involvement in the creation and operation of the illegal enterprise.

       11.       Defendant Ashley Blake Collins (“Collins”), also known as Blake Collins, is a

natural person who resides in Utah. During all times relevant hereto, Collins directed, controlled,

and owned some of the internet lending websites described above, including Green Circle Lending

and Cash Cloud, which he set up to market and collect illegal loans. Collins is one of the architects




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of the illegal enterprise described herein and had direct personal involvement in the creation and

operation of the illegal enterprise.

       12.     Defendant Raycen Raines (“Raines”) is a natural person who was born in Portland,

Oregon. In 2011, Raines moved to the Pine Ridge Reservation, which is the land in South Dakota

that is home to the Oglala Sioux Tribe. At all times relevant hereto, Raines was the “matchmaker,”

i.e., the middleman who brought together Sullivan and Collins with the rogue members of the

Oglala Sioux Tribe to establish the WLCC, which operates without approval from and without

participation from the Oglala Sioux Tribe. The WLCC provides no benefit to the Oglala Sioux

Tribe or any other tribe. Raines handles the relationship between the WLCC and the internet

lending websites. Upon information and belief, Raines receives a percentage of the profits from

the illegal loans for his role as the middleman.

       13.     Defendant Geneva Lone Hill (“Hill”) is the president of the WLCC. She is one of

the rogue members of the Oglala Sioux Tribe who helped form the WLCC. Upon information and

belief, Hill receives a percentage of the profits from the WLCC.

       14.     Defendant Wakpamni Lake Community Corporation (“WLCC”) is a privately held

corporation, which operates without approval from and provides no benefit to the Oglala Sioux

Tribe or any other tribe. In return for a small fraction of the profits, WLCC allows internet payday

lending websites to use its name and falsely claim that they are “wholly-owned” and “controlled

by” the WLCC. The WLCC does not participate in the day-to-day operations of the payday lending

websites and does not perform any of the work in originating, underwriting, or financing the loans.

The WLCC also does not handle the servicing of or collection of the illegal loans.




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                                              FACTS

       A.      Overview of Defendants’ Enterprise.

       15.     Over the last decade, businesses have sought to evade state lending laws by entering

into ventures with Native American tribes to shield the businesses through use of tribal sovereign

immunity. Michigan v. Bay Mills Indian Cmty., 134 S. Ct. 2024, 2052, 188 L. Ed. 2d 1071 (2014)

(Scalia, J., dissenting) (“[P]ayday lenders (companies that lend consumers short-term advances on

paychecks at interest rates that can reach upwards of 1,000 percent per annum) often arrange to

share fees or profits with tribes so they can use tribal immunity as a shield for conduct of

questionable legality.” (citing Martin & Schwartz, The Alliance Between Payday Lenders and

Tribes: Are Both Tribal Sovereignty and Consumer Protection at Risk? 69 WASH. & LEE L. REV.

751, 758–759, 777 (2012)).

       16.     Before embarking on the tribal lending scheme, Collins set up an online lending

company named Flobridge in 2009, which was quickly shut down after a lawsuit brought by the

Idaho Department of Finance revealed that the payday lending company operated without a license

and unlawfully used wage assignments to garnish consumers’ wages. See, e.g., Idaho v. Flobridge

Group, LLC, Case No. 2010-6-04 (Idaho).

       17.     A similar enforcement action was brought against Sullivan and his company,

Fireside Cash, by the Department of Financial & Professional Regulation for the state of Illinois.

       18.      In order to continue doing business and evade state usury laws, Collins and

Sullivan teamed up with Defendant Raines, a former insurance salesman originally from Oregon,

who has Oglala lineage and moved to the Pine Ridge Reservation in 2011.

       19.     Although Raines is an enrolled member of the Oglala Sioux Tribe, he is not a tribal

official and does not represent or act on behalf of the Oglala Sioux Tribe or any other tribe.



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       20.     In January 2012, Raines approached members of the Wakpamni District—one of

the nine subdivisions of the Pine Ridge Reservation—with a business opportunity to enter the

internet payday lending market with Collins and his affiliated websites, such as Cash Cloud—an

Arizona company.3

       21.     During a meeting in January 2012, Raines presented members of the Wakpamni

District with a proposed partnership agreement to do business with Cash Cloud.

       22.     As compensation for its role in the deceptive scheme, Cash Cloud would pay the

Wakpamni District $5 per new loan initiated by Cash Cloud with a net minimum payment of

$100,000 per month.

       23.     Under the proposed partnership agreement, the proceeds would be paid into a bank

account held by Raines, who would remit 50% of the proceeds to the Wakpamni District.

       24.     Ultimately, the Wakpamni Board rejected the business venture, but Raines set up

the WLCC with a few rogue members of the Wakpamni district and proceeded to make the loans

without the Oglala Sioux Tribe’s permission.

       25.     A 2012 CNBC report details certain of the details of the Oglala Sioux Tribe’s

ultimate decision to not involve itself in the business venture. See Eamon Javers, How Some

Payday Landers Charge Over 700% On Loans, CNBC (Sept. 17, 2012).4 When the tribal secretary

was contact by CNBC and informed that the Fast Money Store website (then

www.fastmoneystore.net) stated that it was affiliated with the Wakpamni, he responded “We were

not aware of this payday lending project on the Internet until you brought it to our attention. We

believe that a fraud has been committed on us and these individuals pulled a fast one on us.”

3
  A portion of the factual allegations are taken from Al Jazeera America’s investigation into Raines
and the WLCC, as well as other lawsuits and government enforcement actions against similar tribal
lending schemes.
4
  Available at http://www.cnbc.com/id/49035819.

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Indeed, even the tribal president, whose signature appeared on a Fast Money Store contract,

admitted to CNBC that the contract had not been made according to tribal procedure.

        26.    Although the WLCC holds itself out as the actual lender of these internet payday

loans, Collins, Sullivan, and others not yet known to Plaintiff performed the underwriting

requirements, funded the loans, and controlled all aspects of the servicing after the initiation of the

loan.

        27.    Nevertheless, WLCC erroneously held itself out as an “arm and instrumentality” of

the “Sioux Indians” even though no such tribe exists and no tribe participates in any of the business

functions of the WLCC or receives any of the illegal profits from the scheme.

        28.    Aside from Cash Cloud, the WLCC has allowed its name to be used by no less than

16 internet payday lending companies, including Seaside Payday, BlvdCash, Whisper Rock, Green

Circle, The Gan Eden Group, First Day, Fox Hills Cash, Rolling Plains Cash, Check Advance

USA, Arrow Head Advance, Cash on Cloud9, Easy Cash Online Store, Bayside Cash, Fast Money

Store, Fireside Cash, Seaside Dollar, and (collectively “Defendants’ Payday Lending

Companies”).

        29.    Upon information and belief, WLCC entered into a partnership agreement with

each of Defendants’ Payday Lending Companies and each of the individual Defendants executed

at least one of the partnership agreements.

        30.    Under the scheme, loans are made in the name of WLCC, but Sullivan, Collins, and

others not yet known to Plaintiff, provided the infrastructure to market, fund, underwrite, and

collect the loans, including by providing the following services: lead generation, technology

platforms, payment processing, and collection procedures.




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        31.     Upon information and belief, Sullivan, Collins, and others controlled all aspects of

Defendants’ Payday Lending Companies claimed to be “wholly owned” and “controlled by” the

WLCC, including the call centers, the loan software, the advertising, and the servicing of the loans.

        32.     Upon information and belief, the Payday Lending Companies often shared

employees, computer systems, and other operating costs—none of which were paid by the WLCC

or any tribe.

        33.     Upon information and belief, the WLCC had no control over the income or

expenses of any of Defendants’ Payday Lending Companies and no entitlement to the profits of

the companies except for the nominal, flat-fee paid to the WLCC.

        34.     In other words, the WLCC allows these companies to use WLCC’s name as a front

and, in return, receives a small fee for each loan.

        35.     Upon information and belief, the small fee generated for use of the WLCC’s name

is retained by the rogue members who formed WLCC, including its president, Defendant Geneva

Lone Hill and Raycen Raines.

        36.     Upon information and belief, no member of a tribe or the Wakpamni subdivision

participates in the day-to-day operations of the payday lending companies, and all such activities

occur off the Pine Ridge Reservation.

        37.     Indeed, Plaintiff’s Loan Agreement listed Seaside’s address as 35 New Road, PO

Box 2391, Belize City. (July 1, 2013 Loan Agreement, attached as Exhibit 1, at 4).

        38.     Moreover, all activities performed on behalf of the payday lending companies are

not performed by employees located on the Pine Ridge Reservation but instead by employees

located in Kansas, Utah, Florida, and Belize City.




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       39.     Upon information and belief, the money loaned to Plaintiff was transferred from a

bank account owned and operated or controlled by Sullivan or other third parties not yet known to

Plaintiff who have no connection to a tribe or the Pine Ridge Reservation.

       40.     For example, the United States Attorney for the Southern District of New York has

indicted Scott Tucker and Timothy Muir, competitors of Defendants, for engaging in exactly the

same type of unlawful-lending “rent a tribe” and collection practices alleged herein.

       41.     The Tucker indictment, which sets out a strikingly similar set of facts, includes: (1)

Mr. Tucker, through the use of shell companies, personally lent money to thousands of consumers

through payday loans; (2) Tucker personally controlled virtually every aspect of the operations of

these sham entities; (3) these sham entities shared employees, computer systems, and “other

operating costs and infrastructure of a single lending business”; and (4) Mr. Muir acted as general

counsel for one of the Tucker entities. United States v. Tucker, Case No. 16-crim-091 (S.D. N.Y.

Feb. 9, 2016) (Dot. 1 at ¶¶ 1–3).

       42.     For example, the indictment explains:

       In truth and in fact, as SCOTT TUCKER and TIMOTHY MUIR, the defendants,
       well knew, while TUCKER and MUIR took steps to create the sham appearance of
       tribal ownership and control of the Tucker Payday Lenders, Tribes 1–3 played no
       substantive role in the ownership or operation of the Tucker Payday Lenders at any
       time. To create the sham appearance of ownership, TUCKER assigned nominal
       ownership of the Tucker Payday Lenders to Tribes 1-3 (that is, Ameriloan, United
       Cash Loans, US Fast Cash, Advantage Cash Services and Star Cash Processing
       were assigned to Tribe 1, One Click Cash was assigned to Tribe 2, and 500 Fast
       Cash was assigned to Tribe 3), and from time to time caused Tribes 1-3 to appear
       as the businesses’ owners on certain corporate and financial documents. However,
       in truth and in fact, at all relevant times, and as TUCKER and MUIR well knew,
       Tribes 1-3 had no power to make any decisions on behalf of any of the Tucker
       Payday Lenders, no control over the income or expenses of any of the Tucker
       Payday Lenders, and no entitlement to the Tucker Payday Lenders’ profits.

       Similarly, to create the sham appearance that Tribes 1–3 not only owned, but
       operated, the Tucker Payday Lenders, SCOTT TUCKER, the defendant, caused
       members of two of the tribes (Tribe 1 and Tribe 2) to have a tribal member press a
       key on a computer on a daily basis on tribal lands to purportedly “approve” the

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       extension of credit on hundreds or thousands of loans that the Tucker Payday
       Lenders, through their approximately 600 employees in Kansas, had in fact already
       approved and agreed to provide to customers. TUCKER did not require a third tribe
       that purportedly owned and operated one of the Tucker Payday Lenders (Tribe 3)
       to engage in this sham participation in the operations of his business at all.

Id. at ¶¶ 23-24.

       43.     Just like the Tucker defendants, Defendants’ business relationship was nothing

more than an attempt to mislead consumers and regulators by an illusion that Defendants were

protected by tribal immunity.

       B.      Defendants’ Loans Charged Interest in Violation of Md. Code, Com. Law §
               12-103, Md. Code, Com. Law § 12-306 and RICO.

       44.     Sullivan, Collins, and others not yet known to Plaintiff, through Defendants’

Payday Lending Companies, marketed WLCC internet loans to Maryland residents.

       45.     Under the terms of the standard Loan Agreements, the annual interest rates charged

were at least twice the 24% cap imposed by Maryland law.

       46.     Specifically, Defendants charged Ms. Elder with an annual percentage rate

(“APR”) of 735.0728% (July 1, 2013 Loan Agreement, attached as Exhibit 1). Ms. Elder’s loan

in the amount of $500.00 was to be paid back in 32 bi-weekly payments for a total finance charge

of $3,870.00, including $3,375.00 in interest.

       47.     Md. Code, Com. Law § 12-103 prohibits any person from making such loans to

Maryland residents in excess of 24% APR unless certain exceptions not present here are met.

       48.     Md. Code, Com. Law § 12-306 prohibits any person from making payday loans to

Maryland residents in excess of the following rates:

               For any loan with an original principal balance of $2,000 or less, the
               maximum interest rate is:

               (i) 2.75 percent interest per month on that part of the unpaid principal
               balance not more than $500;


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              (ii) 2 percent interest per month on that part of the unpaid principal balance
              that is more than $500 but not more than $700; and

              (iii) 1.25 percent interest per month on that part of the unpaid principal
              balance that is more than $700.

              (3) For any loan with an original principal balance of more than $2,000 and
              not more than $3,500, the maximum interest rate is 1.75 percent interest per
              month on the unpaid principal balance of the loan.

Md. Code, Com. Law § 12-306.

       49.    Moreover, no person may make a loan under the MCCL without being licensed by

the Maryland Commissioner of Financial Regulation. Md. Code, Com. Law § 12-302; Md. Code,

Fin. Inst. § 11-204. Md. Code, Com. Law § 12-314 provides that a person “who is neither a

licensee nor exempt from licensing may not receive or retain any principal, interest, or other

compensation with respect to any loan that is unenforceable under [the MCCL].”

       50.    Failing to acquire the appropriate license in Maryland is part of a pattern of conduct

by the WLCC to evade state and federal law across the country. For example, the Department of

Financial Institutions of the State of Washington, in response to complaints about many payday

lending websites operated by the WLCC, has previously notified Washington consumers that the

WLCC is not licensed there. See The Wakpamni Lake Corporation Not Licensed In Washington,

available at http://www.dfi.wa.gov/consumer/alerts/wakpamni-lake-corporation-not-licensed-

washington.

       51.    Defendants’ Payday Lending Companies are not, and have not been, licensed by

the Maryland Commissioner of Financial Regulation to provide short-term consumer loans under

the MCCL.

       52.    Upon information and belief and as evidenced by the loan made to Plaintiff and the

loans made by Defendants to the plaintiffs in a lawsuit against many of the same defendants

pending in federal court in Virginia, Wiley et al. v. Jardine et al., No. 3:17-cv-00011-MHL (E.D.

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Va. filed Jan 5, 2017), all of Defendants’ loans to Maryland consumers contained interest rates

over 24% per year and also in excess of the rates set forth in Md. Code, Com. Law § 12-306.

       53.       Accordingly, Defendants’ loans were null and void, and it is unlawful for

Defendants or any of their affiliated entities to collect or receive any principal, interest, or charges

whatsoever on said loans, including any amounts paid by Plaintiff.

       54.       Defendants received no less than $450.00, which was applied either entirely or

almost entirely to interest, from Ms. Elder as a result of the $500.00 illegal loan made to her by

Seaside Payday.

       55.       Pursuant to Md. Code, Com. Law § 12-114, Plaintiff and the putative class

members are also entitled to recover from Defendants an amount equal to the greater of (i) three

times the amount of interest paid in excess of 24% or (ii) $500.

       56.       Similarly, pursuant to Md. Code, Com. Law § 12-314, Plaintiff and the putative

class members are entitled to recover from Defendants any principal, interest, or other

compensation paid to Defendants with respect to all loans.

       57.       Based on this conduct, Defendants also violated § 1962(c) of RICO, which

prohibits the “collection of unlawful debt.” 18 U.S.C. § 1962(c).

       58.       RICO defines “unlawful debt” as a debt that was incurred in connection with “the

business of lending money or a thing of value at a rate usurious under State or Federal law, where

the usurious rate is at least twice the enforceable rate.” 18 U.S.C. § 1961(6).

       59.       As reflected by Plaintiff’s Loan Agreement, Defendants charged an interest rate far

more than twice the enforceable rates established by Md. Code, Com. Law § 12-103 and Md. Code,

Com. Law § 12-306, and, thus, Defendants violated RICO’s prohibition against the collection of

unlawful debt.



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        60.     As a result of Defendants’ participation in the enterprise and violations of RICO,

Defendants are jointly and severally liable to Plaintiff and the putative class members for their

actual damages, treble damages, costs, and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

        D.      Defendants’ Choice-of-Law and Arbitration Provisions Are Unenforceable.

        61.     Defendants’ loan agreements not only violate Maryland’s public policy against

usurious loans, but they also contain illusory, unenforceable, and unconscionable choice-of-law

and arbitration provisions that seek to disclaim all laws and deprive consumers of remedies and

their day in court.

        62.     In particular, Plaintiff’s Loan Agreement provides:

        GOVERNING LAW: The laws of the Tribe will govern this Agreement.
        However, any dispute arising out of this Loan Agreement and any renewal thereof
        will be subject to the ARBITRATION PROVISION, which is governed by the
        Federal Arbitration Act.

        63.     Upon information and belief, the governing law provision—a virtually identical

equivalent thereof—was template language included in all loan agreements involving the WLCC.

        64.     Defendants’ choice-of-law provision is illusory and unenforceable because it

mandates use of the tribal law of the “Sioux Indians,” which does not exist. Hayes v. Delbert

Services Corp., 811 F.3d 666, 673 (4th Cir. 2016) (“But a party may not underhandedly convert a

choice of law clause into a choice of no law clause.”).

        65.     Defendants’ governing law clause is further unenforceable because it violates

public policy concerns in Maryland and was procured through fraud and misrepresentations,

including that WLCC was “wholly owned” and “operated by” by “the Sioux Indians” of South

Dakota.

        66.     These statements were false, misleading, and designed to create the appearance that

consumers were doing business with a neutral, government-like entity, which does not exist.


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       67.       In reality, the loans were owned and operated by individuals like Sullivan and

Collins, who funded the loans, controlled the underwriting, and handled the day-to-day operations

of the businesses, including the interactions with consumers and collections.

       68.       Due to the unavailability of the chosen law and/or the fraudulent misrepresentations

regarding the ownership and operations of the WLCC, the arbitration provision is also illusory and

unenforceable.

       69.       Plaintiff requests the Court to enter a declaratory judgment that the governing law

and arbitration provisions are unenforceable as to Maryland consumers.

                                     COUNT ONE:
                          VIOLATIONS OF RICO, 18 U.S.C. § 1962(c)
                        (CLASS CLAIM AGAINST ALL DEFENDANTS)

       70.       Plaintiff restates each of the allegations in the preceding paragraphs as if set forth

at length herein.

       71.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

action for herself and on behalf of a class initially defined as:

       All Maryland residents who (1) executed a loan with Defendants’ Payday Lending
       Companies or any other entity affiliated with the WLCC (2) where the loan was
       originated and/or any payment was made on or after June 30, 2013.

       Plaintiff is are a member of this class.

       72.       Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiff

alleges that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Defendants, and the class members may be notified of the pendency of this action by published

and/or mailed notice.

       73.       Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

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factual or legal issues that differ between the putative class members. These questions predominate

over the questions affecting only individual class members.

       74.     Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of

each putative class member. In addition, Plaintiff is entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

       75.     Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff is an adequate

representative of the putative class, because her interests coincide with, and are not antagonistic

to, the interests of the members of the Class she seeks to represent; she has retained counsel

competent and experienced in such litigation; and she has and intends to continue to prosecute the

action vigorously. Plaintiff and her counsel will fairly and adequately protect the interests of the

members of the Class. Plaintiff and her counsel possess no interest that would interfere with their

vigorous pursuit of this action.

       76.     Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

class members predominate over questions affecting only individual members, and a class action

is superior to other available methods for fair and efficient adjudication of the controversy.

Litigating the validity and enforceability of each loan agreement would prove burdensome and

expensive. It would be virtually impossible for members of the class individually to effectively

redress the wrongs done to them. Even if the members of the class themselves could afford such

individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

litigation presents a potential for inconsistent or contradictory judgments and increases the delay

and expense to all parties and to the court system presented by the legal and factual issues raised

by Defendants’ conduct. By contrast, the class action device will result in substantial benefits to




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the litigants and the Court by allowing the Court to resolve numerous individual claims based upon

a single set of proof in a case.

        77.     Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). In

addition, class certification is appropriate because Defendant acted on grounds generally

applicable to the Class, making appropriate equitable injunctive relief with respect to Plaintiff and

the Class members. Plaintiff and the putative class seek an injunction ordering the Defendants to

divest themselves of any interest in any enterprise pled herein, including the receipt of usurious

debt; prohibiting Defendants from continuing to engage in any enterprise pled herein; and ordering

the dissolution of each Defendant that has engaged in any enterprise pled herein.

        78.     As alleged above, Defendants, along with other participants not yet known to

Plaintiff, violated § 1962(c) of RICO through the “collection of unlawful debt.” 18 U.S.C. §

1962(c).

        79.     RICO defines “unlawful debt” as a debt which was incurred in connection with “the

business of lending money or a thing of value at a rate usurious under State or Federal law, where

the usurious rate is at least twice the enforceable rate.” 18 U.S.C. § 1961(6).

        80.     All of the loans made to Maryland residents by Defendants and their affiliated

companies included an interest rate far in excess of twice the enforceable rate in Maryland.

        81.     This conduct began sometime as early 2012 and continues to date and will be

repeated again and again in the future to the detriment of Maryland consumers.

        82.     Plaintiff and the putative class members were injured as a result of Defendants’

violations of 18 U.S.C. § 1962(c) and are entitled to treble their actual damages, which would

include any interest, fees or other sums collected by Defendants.




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       83.     As a result of Defendants’ participation in the enterprise and violations of RICO,

Defendants are jointly and severally liable to Plaintiff and the putative class members for their

actual damages, treble damages, costs, and attorneys fees pursuant to 18 U.S.C. § 1964(c).

                                     COUNT TWO:
                          VIOLATIONS OF RICO, 18 U.S.C. § 1962(d)
                        (CLASS CLAIM AGAINST ALL DEFENDANTS)

       84.     Plaintiff restates each of the allegations in the preceding paragraphs as if set forth

at length herein.

       85.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

action for herself and on behalf of a class initially defined as:

       All Maryland residents who (1) executed a loan with Defendants’ Payday Lending
       Companies or any other entity affiliated with the WLCC (2) where the loan was
       originated and/or any payment was made on or after June 30, 2013.

       Plaintiff is are a member of this class.

       86.     Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiff

alleges that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Defendants, and the class members may be notified of the pendency of this action by published

and/or mailed notice.

       87.     Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions predominate

over the questions affecting only individual class members.

       88.     Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of

each putative class member. In addition, Plaintiff is entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

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        89.     Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff is an adequate

representative of the putative class because her interests coincide with, and are not antagonistic to,

the interests of the members of the Class she seeks to represent; she has retained counsel competent

and experienced in such litigation; and she has and intends to continue to prosecute the action

vigorously. Plaintiff and her counsel will fairly and adequately protect the interests of the members

of the Class. Plaintiff and her counsel possess no interest that would interfere with their vigorous

pursuit of this action.

        90.     Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

class members predominate over questions affecting only individual members, and a class action

is superior to other available methods for fair and efficient adjudication of the controversy.

Litigating the validity and enforceability of each loan agreement would prove burdensome and

expensive. It would be virtually impossible for members of the class individually to effectively

redress the wrongs done to them. Even if the members of the class themselves could afford such

individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

litigation presents a potential for inconsistent or contradictory judgments and increases the delay

and expense to all parties and to the court system presented by the legal and factual issues raised

by Defendants’ conduct. By contrast, the class action device will result in substantial benefits to

the litigants and the Court by allowing the Court to resolve numerous individual claims based upon

a single set of proof in a case.

        91.     Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). In

addition, class certification is appropriate because Defendant has acted on grounds generally

applicable to the Class, making appropriate equitable injunctive relief with respect to Plaintiff and

the Class members. Plaintiff and the putative class seek an injunction ordering Defendants to divest



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themselves of any interest in any enterprise pled herein, including the receipt of usurious debt;

prohibiting Defendants from continuing to engage in any enterprise pled herein; and ordering the

dissolution of each Defendant that has engaged in any enterprise pled herein.

       92.     As alleged above, Defendants, along with other participants not yet known to

Plaintiff, violated § 1962(d) of RICO by entering into a series of agreements to violate § 1962(c),

including the partnership agreement entered into between the WLCC and the Payday Lending

Companies.

       93.     As explained above, Defendants knowingly entered into a series of agreements to

facilitate the illegal lending scheme, which blatantly violates § 1962(c) of RICO.

       94.     Plaintiff and the class members suffered actual damages as a result of Defendants’

violations of 18 U.S.C. § 1962(d).

       95.     As a result of Defendants’ participation in the enterprise and violations of RICO,

Defendants are jointly and severally liable to Plaintiff and the putative class members for their

actual damages, treble damages, costs, and attorneys fees pursuant to 18 U.S.C. § 1964(c).

                                COUNT THREE:
              VIOLATIONS OF MARYLAND INTEREST AND USURY LAW
                      MD. CODE, COM. LAW § 12-101, ET SEQ.
                   (CLASS CLAIM AGAINST ALL DEFENDANTS)

       96.     Plaintiff restates each of the allegations in the preceding paragraphs as if set forth

at length herein.

       97.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

action for herself and on behalf of a class initially defined as:

       All persons (1) who resided or were located in Maryland; and (2) when they entered
       into a loan with one of Defendants’ Payday Lending Companies or any other entity
       affiliated with the WLCC.

       Plaintiff is a member of this class.


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        98.     Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiff

alleges that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Defendants, and the class members may be notified of the pendency of this action by published

and/or mailed notice.

        99.     Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions predominate

over the questions affecting only individual class members.

        100.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of

each putative class member. In addition, Plaintiff is entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

        101.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff is an adequate

representative of the putative class because her interests coincide with, and are not antagonistic to,

the interests of the members of the Class they seek to represent; she has retained counsel competent

and experienced in such litigation; and she has and intends to continue to prosecute the action

vigorously. Plaintiff and her counsel will fairly and adequately protect the interests of the members

of the Class. Plaintiff and her counsel possess no interest that would interfere with their vigorous

pursuit of this action.

        102.    Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class

certification is appropriate because Defendant acted on grounds generally applicable to the Class,

making appropriate equitable injunctive relief with respect to Plaintiff and the Class members.

Plaintiff and the putative class seek an injunction ordering Defendants to divest themselves of any



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interest in any enterprise pled herein, including the receipt of racketeering profits; prohibiting

Defendants from continuing to engage in any enterprise pled herein; and ordering the dissolution

of each Defendant that has engaged in any enterprise pled herein.

       103.    Pursuant to Md. Code, Com. Law § 12-103(c)(1)-(2), unsecured written loan

agreements at an interest rate greater than 24% per annum are prohibited.

       104.    As set forth more fully above—in the course of making and collecting on payday

loans to Plaintiff Elder and other consumers in Maryland—Sullivan, Collins, and Defendants’

Payday Lending Companies repeatedly and knowingly charged, demanded, and accepted interest

at a rate greater than 24% per annum in violation of Md. Code, Com. Law § 12-103(c)(1)-(2).

       105.    None of the exceptions to and within Md. Code, Com. Law § 12-103 apply.

       106.    Accordingly, Plaintiff and the putative class members are entitled to recover from

Defendants an amount equal to the greater of (i) three times the amount of interest paid in excess

of 24% or (ii) $500. Md. Code, Com. Law § 12-114.

                                  COUNT FOUR:
                 VIOLATIONS OF MARYLAND CONSUMER LOAN LAW
                       MD. CODE, COM. LAW § 12-301, ET SEQ.
                    (CLASS CLAIM AGAINST ALL DEFENDANTS)

       107.    Plaintiff restates each of the allegations in the preceding paragraphs as if set forth

at length herein.

       108.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

action for herself and on behalf of a class initially defined as:

       All persons (1) who resided or were located in Maryland; (2) when they entered
       into a loan with one of Defendants’ Payday Lending Companies or any other entity
       affiliated with the WLCC; and (3) made a payment of any amount on the loan or
       who have an outstanding balance on the loan.

       Plaintiff is a member of this class.



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       109.    Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiff

alleges that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Defendants, and the class members may be notified of the pendency of this action by published

and/or mailed notice.

       110.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions predominate

over the questions affecting only individual class members.

       111.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of

each putative class member. In addition, Plaintiff is entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

       112.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff is an adequate

representative of the putative class, because her interests coincide with, and are not antagonistic

to, the interests of the members of the Class she seeks to represent; she has retained counsel

competent and experienced in such litigation; and she has and intends to continue to prosecute the

action vigorously. Plaintiff and her counsel will fairly and adequately protect the interests of the

members of the Class. Plaintiff and her counsel possess no interest that would interfere with their

vigorous pursuit of this action.

       113.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

class members predominate over questions affecting only individual members, and a class action

is superior to other available methods for fair and efficient adjudication of the controversy.

Litigating the validity and enforceability of each loan agreement would prove burdensome and



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expensive. It would be virtually impossible for members of the class individually to effectively

redress the wrongs done to them. Even if the members of the class themselves could afford such

individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

litigation presents a potential for inconsistent or contradictory judgments and increases the delay

and expense to all parties and to the court system presented by the legal and factual issues raised

by Defendants’ conduct. By contrast, the class action device will result in substantial benefits to

the litigants and the Court by allowing the Court to resolve numerous individual claims based upon

a single set of proof in a case.

        114.    Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class

certification is appropriate because Defendant acted on grounds generally applicable to the Class,

making appropriate equitable injunctive relief with respect to Plaintiff and the Class members.

Plaintiff and the putative class seek an injunction ordering Defendants to divest themselves of any

interest in any enterprise pled herein, including the receipt of usurious profits; prohibiting

Defendants from continuing to engage in any enterprise pled herein.

        115.    Maryland’s Consumer Loan Law (“MCCL”) limits the annual interest rate on

payday loans as follows:

        For any loan with an original principal balance of $2,000 or less, the maximum
        interest rate is:

        (i) 2.75 percent interest per month on that part of the unpaid principal balance not
        more than $500;

        (ii) 2 percent interest per month on that part of the unpaid principal balance that is
        more than $500 but not more than $700; and

        (iii) 1.25 percent interest per month on that part of the unpaid principal balance that
        is more than $700.

        (3) For any loan with an original principal balance of more than $2,000 and not
        more than $3,500, the maximum interest rate is 1.75 percent interest per month on
        the unpaid principal balance of the loan.

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Md. Code, Com. Law § 12-306.

        116.   Moreover, if an unlicensed lender makes a loan for less than $6,000 and charges

interest in excess of 24%, such loans are void and unenforceable, and the lender or any third-party

may not collect, obtain, or receive any principal, interest, or charges whatsoever on said loans. Md.

Code, Com. Law § 12-314.

        117.   As set forth more fully above—in the course of making and collecting on payday

loans to Plaintiff Elder and other consumers in Maryland— Sullivan, Collins, and Defendants’

Payday Lending Companies repeatedly and knowingly charged, demanded, and accepted interest

far in excess of 24%.

        118.   Accordingly, it was unlawful for Defendants or any of their affiliated entities to

collect or receive any principal, interest, or charges on the loans, including all amounts paid by

Plaintiff.

                                     COUNT FIVE:
                               DECLARATORY JUDGMENT
                        (CLASS CLAIM AGAINST ALL DEFENDANTS)

        119.   Plaintiff restates each of the allegations in the preceding paragraphs as if set forth

at length herein.

        120.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

action for herself and on behalf of a class initially defined as follows:

        Declaratory Judgment Class: All Maryland residents who (1) executed a loan
        with Defendants’ Payday Lending Companies; (2) which contained a choice-of-law
        provision, arbitration provision, or forum selection clause similar or identical to
        Plaintiffs.

        Plaintiff is a member of the subclass.

        121.   Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiff

alleges that the class members are so numerous that joinder of all is impractical. The names and


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addresses of the class members are identifiable through the internal business records maintained

by Defendants, and the class members may be notified of the pendency of this action by published

and/or mailed notice.

       122.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions predominate

over the questions affecting only individual class members. The principal issues include: (1)

whether the loan agreements are void as a matter of public policy and (2) whether the choice-of-

law and arbitration provisions are enforceable.

       123.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of

each putative class member. In addition, Plaintiff is entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

       124.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff is an adequate

representative of the putative class, because her interests coincide with, and are not antagonistic

to, the interests of the members of the class she seeks to represent; she has retained counsel

competent and experienced in such litigation; and she has and intends to continue to prosecute the

action vigorously. Plaintiff and her counsel will fairly and adequately protect the interests of the

members of the class. Plaintiff and her counsel possess no interest that would interfere with their

vigorous pursuit of this action.

       125.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

class members predominate over questions affecting only individual members, and a class action

is superior to other available methods for fair and efficient adjudication of the controversy.

Litigating the validity and enforceability of each loan agreement would prove burdensome and



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expensive. It would be virtually impossible for members of the class individually to effectively

redress the wrongs done to them. Even if the members of the class themselves could afford such

individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

litigation presents a potential for inconsistent or contradictory judgments and increases the delay

and expense to all parties and to the court system presented by the legal and factual issues raised

by Defendants’ conduct. By contrast, the class action device will result in substantial benefits to

the litigants and the Court by allowing the Court to resolve numerous individual claims based upon

a single set of proof in a case.

          126.   As explained above, Defendants’ loan agreements not only violate Maryland’s

public policy, but they also contain unconscionable choice of law and arbitration provisions that

are void and unenforceable for public policy concerns.

          127.   The dispute and controversy is a justiciable matter that is not speculative, and a

resolution by this court will determine the rights and interests of the parties to the Loan Agreements

as well as the validity, if any, of the choice of law and forum-selection provisions.

          128.   Pursuant to 28 U.S.C. § 2201, there is an actual justiciable controversy, and a

declaratory judgment is the appropriate mechanism for resolving the validity and enforceability of

the loan agreements.

          129.   Accordingly, Plaintiff seeks a declaratory judgment that the choice of law and

arbitration provisions are void and unenforceable as a matter of Maryland’s well-established public

policy.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that the Court enter judgment on behalf of herself and

the classes she seeks to represent against Defendants as follows:



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    A.   Certification for this matter to proceed as a class action under Fed. R. Civ. P.
         23(b)(2) and 23(b)(3);

    B.   Declaratory, injunctive, and damages relief as pled herein;

    C.   Attorneys’ fees, litigation expenses, and costs of suit; and

    D.   Such other or further relief the Court deems proper.

TRIAL BY JURY IS DEMANDED

                                        Respectfully submitted,
                                        JACINTA ELDER

                                        By:__/s/ Hassan Zavareei_________
                                        Hassan Zavareei (No. 18489)
                                        Jeffrey Kaliel (pro hac vice pending)
                                        Andrew Silver (pro hac vice pending)
                                        TYCKO & ZAVAREEI LLP
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                                        Counsel for Plaintiff




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       EX HIBIT 1
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                                                                          APPLICATION

IMPORTAN INFORMA [ION ABOUT PR( X 'IA )1 IR];.S FOR OPENING A NEW ACC()UNT: To help the
                                                                                                                          govemment fight the funding of terrorism and mo[1 ey
laundering activities. Federal] law requires all financial institutions to ()Hain, verify, and record inthrmation that identities each person who opens an account. What this
means for you: When you open an account, we (-we" or 'us" refers to Seaside Payda), a M hal entity wholly owned by the Wakpanmil.ake Community Corporation

 WI .CC) o CIL Sioux Indians, South Dakom, a sovereign nation located within the United States of Arnerica, and operating within the Tribe's Reservation) will ask ibr

your mune, address, date of birth, and other information that will allow it; to identify you. We may also a_sk to see your driver's license or other identi fy:ing document.

NOTICE: WE ARE REQUIRED BY LAW To ADOPT PROCI-Xl/RFS.                             RFQUE57. AND RL.IAIN IN OUR RECORDS INFORMATION NECESSARY TO
VERIFY YOUR IDENTITY


                                                                     PERSONAL INFORMATION
 Name:Jaeinta hider                            Social Security Number:
                                                                                                         .State:MD
 Address:4701 Willard Ave                      C ity: C hevy Chase
                                                                                                        Zip:20815
                                               Length at Address
 Date of flirth:                               Yrs: 2                                                    Frnail Address:
                                               Mths:
 Home Phone:                                   Cell Phone:                                              FaL
                                                                      INCOME INFORMATION
 [1.,Itip[oyer: IT )A                           Month Net Income:                                                      Work Phone:
 Pay PeTiod:BiWeekly                            Next Pay Date:July .5, 2013
                                                                                                                       II.a.st Pay I )ate:Junc 21, 2013
 Length of hinploymenc24                        Customer Payroll

 Supervisor's Name:FDA                          Supervisor or I IR Phone:

                                                                          RANK INFORMATION

!Type (Alltcoount:Checking                              Routing   umber                                       lAccounl Number
                                                                     REFERENCE EN PURIVIA I ION
           Phone N. uni   he111.111
11..
.2.        Phone Number
                                                                                                 Rclaticmship:REI .A.FI VI
                                                                                                 Relationshie:RELATWE
By typing your name and clicking "1 Agree" below, you arc eWmnically signing this Application. By electronically signing and submitting this Application Statement,
you certify that all of the information provided above is true, complete and correct and provided to us for the putpose of inducing as Io make the loan for which you arc
applying and you acknowledge receiving a fully completed copy of this Application and accompanying documents. This Application will Ix: deemed incomplete and will
not be pmeessed by us unless agri...:ed by you below. By electronically signing below you also agree that we may obtain and use information about you from third

parties, including consumer reports, to evaluate your application and to review your account for as long as you owe any amount to us.
SIGNATURE: Judah), Elder                                                                              DATE: July 1, 2013
                     Case 1:16-cr-00371-RA                         Document
                                                     (:OVERED BOR14OW                   499-2
                                                                                    11)FIVI'l       FiledSTNFEMENT:
                                                                                               Fl CATION   06/04/18 Page 32 of 51
                       Case 8:17-cv-01807-TDC Document 1-1 Filed 06/30/17 Page 3 of 10
Feders I law   provides imimrtant protections active duty members of the Armed Tortes and their
                                              to                                                        dependen h.
                                                                                                        To   that        ensure       these proteclions arc provided to ctigihie applicants, we
require you to triert and electronically sign ON L of the fidlowing statements at applicable:

   .1-:ASH:            ON!'        TI IL I.OLLOWI            STATENILN'IS


 AM a regular or reserve member of the Army, Navy, Marine Corps, Air Force, or Coast Guard, serving nn active duty under g call or order OW does not specily a period 4030 days or
fewer, or such member serving on Active National Guard duty.

I AM a dependent ore member of the Armed Forces on active duly as &scribed above, because I am the member's tpouse, the memhert chlId ander the age Of eighteen years old, or I tun
an indMdual for whom the member      provided more than one-half of my financial oupport for I P1 days Linmedialely preceding today's date.

 OR--

66 I AN.I. NOT a
                 tegul.-..ir at reserve member of lila Army, Navy. Mariric Cerps, .Air Force, or Cotst Ciaard. serving on aztive duty undo:- a call or ordsr that does. not specify a panoci of
days or fewer (or a dopondorti of ouch a mcalber).

WARNING: IT IS IMPORTANT TO FILL OUT THIS FORM ACCURATELY. KNOWINGLY MAKING A FALSE STATEMENC ON A CREDIT APPLICATION IS A CRIME.




Signature: Jacinth Elder Date: July 1, 2013
                   Case 1:16-cr-00371-RA Document
                                             Seaside 499-2
                                                     Pavdav
                                                            Filed 06/04/18 Page 33 of 51
                    Case 8:17-cv-01807-TDC Documenti-1 Filed 06/30/17 Page 4 of 10
                                                                       LOAN MI R FEMENT
Agreern   Date:July 1, 2013                                                                     LOANC1011329 lb
Payment Due Date:July 19, 2013
Name of Lender:Seaside Payday, LDC                                                              NAMEJadnta Elder
Address of Lender:                                                                              ADDRUSS:4701 Willard Ave
No. 35 New Road, P.O. Box 2391                                                                  CITY:Chevy Cikw.:
Belina City                                                                                     SINIE:MD Zi P208I5
   00000                                                                                        Pi IONif.:30 65638.08


In this Loan Agreement (hereinafter, the "1.oan Agreement") the words "you", "your" and "I" mean the borrower who has electronically signed it. The words "we", 'us"
and "one mean Seaside PayclAy cri ....ffidae), a licensed Lender of ivitstaner loans regulated by the Trihal 121WS of Wakpomni Lake Community Corporation.

                                                                 RUT II      I.}:N MING DISCI .OSURES

                  Annual                                   Finance Charge                          Amount Financed                           "Lotal of Payments
              Percentage Rate:                         'Hie dollar amount the                    The amount oluredit                        The amount you win
             The rust or your                            credit will cost-you.                      provided to you                         have paid after vou
          credit as a yearly rate.                                                                 or un your behalf                           have made all
                                                                                                                                          payments as scheduled.
                 735.0728%                                    $3375 00                                 $500.00                                    S3, 875.00


Your payment schedule (the 'Payment Schedule") will be:

INumber ot l'ayments                                               Amount of Payments                                     When Paymen ts Are Due
                                                                           .5150.00                                               July 19. 2013
                                                                           5150.00                                                AtlItist 2, 2013
                          1                                                5150.00                                               August I 6, 2013
                                                                           5150.00                                               August 30..2013
                                                                           5150.00                                              September 13. 2013
                                                                           5150.00                                              September 27. 2011
                                                                           $150.00                                               October 11. 2013
                                                                           5150.00                                               October 25, 20 13

                                                                           $150.00                                              Novc:mber S. 2013
                                                                           $150.00                                              November 22. 2013
                          1                                                $150.00                                              Decem ber 6. 2013
                                                                           $150.00                                              December 20. 2013
                                                                           91175.00                                              human. 3, 2014
                                                                           $167.50                                               JAnuarv 17.2014
                                                                           $16000                                                Jnntiarv3l, 2014
                                                                           $152.50                                              February 14, 2014
                                                                           $14500                                               February 28, 2014
                                                                           9117.50                                                March 14. 2014
                                                                           5130.00                                               March 2ft, 2014
                           1                                               $122.50                                                April     2014
                                                                           $115.00                                                April 25. 2014
                                                                           $107.50                                                 Mav 9, 2014
                                                                           $100 00                                                May 23, 2014
                           1                                                $92.50                                                 June 6, 2014
                                                                            SR5.00                                                 Junc 20. 2014
                                                                            577.50                                                 July 3, 2014
                           1                                                $70.00                                                 Jab, la. 2014
                                                                            $62.50                                               A!tgam 1.2011
                                                                            $55.00                                               Angled IS. 2014
                                                                            $47.50                                               At must 29. 2014
                                                                            $40.00                                              September 12, 2014
                                                                            532.50                                              September 26. 2014
 prepayment It you pay off the T oan early, you will not have to pay a rx-malty.

 .Returned Platpent Fee: 1 f any payment provided to UN is returned for nonpayment, you will he charged a fee of $30.

 Late Fee: If any payment listed m the Payment Schedule is not received by us on its Payrnent Due Date, you will be charged a fee of $20.

 .Security Interest liven have chosen the AC1-1 Debit Authorization option, your ACH authorization is security for this loan.

 See the 1 man Agreement for any additional information about nonpayment, &Fault. any Nquircd repayment in full belUre the scheduled date, and prepayment

 penalties.

IItemization of Amount Financed 5500.00 Amount given to you directly: S500.00
 PROMISE TO PAY: You promise to pay to the order or Lender or any subsequent holder of this Agreement the principal sum of $500_00 plths interest from the date
 oftins Loan at the rate of735.072.8% per year until this Loan is repaid in Mit You promise to pay these ampunt.s on the dates listed in the Payment Schedule above.
           Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 34 of 51
You also promise to pay to us or to any subsequent holder o r this Agreement any other fees provided flir under this Ageement.

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PAYMENTS: You promise to each shown above
                                  pay     before the applicable
                                             payment            Due Date.
                                                                     on orhave chosen thr ACH Debit Authorization
                                                                                                Payment            Ityou
option. your payment plus any fees due to us (it applicable) will be debited from your Bank Account on each Payment Due Date as set fiarth above. Additional
provisions related to this authotization (including provisions related to how such authorization may be terminated) arc sct ffirth in the ACH Authorization terms set forth
below. If you have chosen to reoaive your loan proceeds via check and an repay all amounts due pursuant to this Agreement via money order or certified cheek, plume
mail your payments payable to P.O. Box 6048, Pine Ridge, SD 5777L). by the Payment Due Dates indicated within 'When Payments Are Due" section of this
agreement to Seaside Payday for receipt and processing_ All mailed payments must reach this address hy 4100 pm Lastem -Lane on the Payment I hie Date.

NO CONTINGENCY: You agree that we calulut niake and have not made the Loan contingent upon your obtaining any other product or serme kin us or ariyone
else,

PAYMENT APPLICATION: Lender will apply your paymeriLs lirst to any fixs due to I .erKier, then to earned but unpaid interest, and then to principal amoimia
outstanding.

WHEN YOU BEGIN PAYING INTE REM': You begin ro pay us interest on Lhe 1..oan on the date the proceeds ofthe loan aro deposited into your Flank
Account, orif you elect to repay your Loan proceeds by mail and thus receive your Loan proceeds by check through the mail, the date we issue the check (the
-Disbursement Date"). Unavoidable delays as a result ofhank holidays, the processing schedule of your individual bank, the untimely receipt of income verification, if
such verification is required, inadvertent processing errors: "acts of Cod", andfor "acts of terror" may extend the time fhr disbursement, You will be charged interest on
the unpaid amount of the I, oan each day from the Disbursement Date until the Loan l3 paid in full. In calculating your payments, we have assumed you will make each
payment on the day and in the amount due, f fat-1y payment is received after the Payment Due Date, you must pay any additional interest that accrues Mier such date. If
you have any questions, please call us at 8667353525. 'lere are no grace periods that apply to this I.oan in connection with the Payment Due Dates set forth above. I1
you have elected to repay this Loan via ACH dchils to your Bank Account and any payment is due on a day on which your bank is not open, then such payment shall
he due on the next day upon which your bank is open. if you have de-led to repay this loan via certified check or money order and any payment is due on a day other
titan a husinffts day, then such payment will be duc on the next business day_


CALCLI ATION OF INTEREST AND PAYMENTS: The interest charged hereunder is calculated using the outstanding principal balance method and has hvai
computed to account for your payment of all installments on the scheduled Payment Due Dates. Interest shall not be payable in advance or compounded.

ATTORNEYS' FEES RElATED TO COLLECTION: You understand that in the event the Lender is required to employ an attorney at law to collect any
amounts duc under this Note, you will be required to pay the reasonable fees of sudi attorney to protect the interest of l.coder or to take any other action required to
collect the amounts due hereunder.


PREPAYMENT: You may prepay all or part of the amount you owe us at any time without penalty..If you pay in full early, you must pay the interest accnied on your
I .oari and all othi...-r amounts due,


RETURNED PAYMENT FEE: If any payment made by you on this Loan is not honored or cannot he processed for any reason, including not enough money in
your Hank Account. you agree to pay us a fee of $30. You authorize us and our agents to make a one-limo withdrawal iiorn your Bank Account to collect this fee, if
you have elected to repay this loan via ACEI debits to your Bank Account Your financial institution may also impose a he ifyour Bank Accotmt doels not have
sufficient kinds to cover any debit pnicssetl for payment from such flank Account.


D [TM ILT: You yvill have broken your promise you made to us in this Agernent (each, a "Default") if (a) you pmvide false or misleading in thrmation about yourself
your employment or your linaneial condition prior to entering into this Agneement, (b) you fail to make a payment by the due date or if your payment is returned to us
for any reason, or (e) you tile bLinkreptcy or becalne LI debtor Wider applicable bankruptcy. Laws.


CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at our option, do any one or more ofthe following
things7 (a) require you to immediately pay us everything you inke us; (h) withdraw money from your Bank Account that was not available when we tried to withdraw it
at an earlier time, if you have elected to repay this loan via AC11 debits to your Bank Account; and (c) pursue all le2ally available means to collect what you owe us. In
the event we declare all amounts inked under this Agreement immediately due bectanse you did not pay. us, then you fi.allier authorize us and our agents to ua.ithdraw
money frorn your Bank Account in the Pill amount due under this Agreement, if you have elected to repay this loan via AO i debits to your Bank Account. By choosing
any one of more of these, we do not give up our right to use another way to collect the money you owe us later_ We may deeide net to Use any ofthe ways desenhed
above to get back the money that you owe us. If so, we do not aive up our right to consider what you said you would do to make payincia(s) and, if you fail to make
those payment(s), we will consider you to be in Default

VERIFICATION: You authorize us to verily the information you provided to us in connection with your Loan application. You give us consent to ohtani infitrmation
about you fiom a consumer reporting agency or other sources at any tnne you have repayment ohligations under this Loan. We reserve the right to withhold funding of
this loan, at any time prior to dkbuntentent, to allow us to verq the information you have provided to us.


CREDIT REPORTING: We may report intOrmation about your Loan to credit bureaus_ Late payments, missed payments, or other things you do may be reflected
on your credit report.


CONSENT TO ELECTRONIC COMMUNICATIONS: CONSENT TO E LEC:TRON IC COMMUNICATIONS: The following terms and conditions
govern electronic communications in eonnection with the Loan Agroement and the transaction evidenced hereby (the "Consent"). By electronically sigiing the I oan
Agivement by clicking the I AGREE" button and entering your name below, you are confirming that you have agreed to the terms and conditions ofthe Consent and
that vou have downloaded or printed a wpy of this Consent for your records. You agree that:


        Any disclosure, notice, record or other type ofinformation that is provided to you in connection with your transaction with us, including but not limited to, the
        I .oan Agreement this Consent. the 'I nith in lending disclosures set thrth above, change- n-term notices, fee and transaction information, statements, delayed
        disbursement letters, notices of adverse action, state mandated brochures and disclosiwes, and transaction intbrmation ("Commialications"), may he sent to you
        electronically hy posting the information ai nun web site, supportgseasidepayday.com, or by sending it to you by e-mail, as permitted by applicable law-.
        We will not be obligated to provide any Conununication to you in paper form unless you specifically request as to do so or we arc required to do so.
        You may obtain a copy of any Communication by contacting LIS at supportseasidepayday.00rn, or by calling us at g667353525. You also ..an withdraw your
        consent to onaoing eleerroinie communications in the same manner, anti ask that they Ix sent ten you in paper or non-dectronic fonn. If you choose to receive
        Communications in paper or non-electronie fonn, we may elect to terntate the Loan Agreement and demand payment of the amount then due by the date of
        your witheirawal of Consent, or by tlie expiration o fany minimum term mandated by law, whichever is later.
        You agree to provide us with your current e-mail address for notices at the address or phone numbers indicated above. lf your e-mail address changes, you
        must send us a notice of the new acldre&s by writing to as or sending us an e-mail, using secure messaging, at least five (5) days before the change.
                      Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 35 of 51
      lii order to
                     retyak eleetroa,.c,09imunicioumipu wikthis transaction, y4MI,iyill r.tNil a nor,104RAnAtlipri Lippe Inte l Y LI Xowser MUSA support
      the Secure     Socctfrr                          as eleARQUMP.PientrAd re7e1MiiktERWAY/Erkirnet.rcIlgQfPnWitiel-Pxplorcr 6 and above

      supports this testate. You will also need either a printer connected to your computer to pnrit disclosureslilothxs or sufficient hard drive space available to save
      the information (e.g., 1 megabyte or more). You must have your own Internet service. provider_
      We may amend (add to, delete or change) the terms of this Consent to electronic communication hy providing you with advance notice in accordance with
      applicable law.


By entering your naMe and clicking the "I Agree" button below, you are electronically signing this document and confirming that:

      (1) your system meets the requirements set forth above;
      (2) you agree to receive Communications electronically;
      (3) you arc able to receive emails send tti the email address you have provided to us and to access and print or store information presented at this
      websitet and
      (4) you consent to having information regarding this transaction, and others you may enter into with us, transmitted via email to the email address you have
      provided to as, and to haying that information communicated with any third party who has or obtains access to emails sent to that address.

YOUR ELECTRONIC SIGNATURE: You acknowledge and agree that when you type your name in the indicated boxes on this document, and click the "I Agree"
button below, you art providinn your electronic signature on Mis doeument.    electronically signing this document. you are apt-61g to all the terms and conditions sct
KAI in die Atneement, and cettifying Mat all intatmation you have provided in connection with this transaction is complete and aceuntte. You agree that your electronic
signature shall haye the same three and effect, and shall hind you to das Agreement in the siunc man= and to the same extinit as a physical signature would do, in
accordance with the Electronic Signatures in Global and National Commert.e Act ("LS IGN-) to the extent applicable. You also agee that this Agreement and all
related documents are electronic records and that as such, they may bc transtened, authenticated, stored, and transmitted by electronic means,


TEXT Al ESSA GINC: By electronically signing helow, you authorize us, our assigns, successors or servicing agents to send SMS Statement Notifications (as defmed
below) to any phone numbers provided to us, our assigns, successors or service agents in connection with this kiwi_ As used in this Disclosure, "S'vlS Statement
Notifications" means any SMS (text message) cormnunications from us to you pertainina to your loan sent to the phone numbers provided in conneetion with this loan,
includina but not limited to payment information account infimmation due dates, delinquent accounts; program updates, and other marketing messages.

1. How 'lc Unsubscnbe: You may withdraw your consent to receive SMS Statement Notifications by changing by replying -STOP" to any received text message.
Alternatively, you tnay call us at 8667353525. At our option, we may treat your provision of an invalid mobile plame number, or the subsequent malfUnction ofs
previously valid mobile phone number, as a withdrawal of your consent to receive SMS Suiternent Notifications. We will not impose any fee to process the withdrawal
of your consent to receive SMS Statement Noti Nations Any withdrawal of your consent to use SMS Statement Notifications will be effective only after we have a
reasonable period of time to process your withdrawal_
2. l'o request additional in formation contact us bv telephone at (888) 1.28-2 893.
3, The services 'LIE; available on most cellular carriers. Additional carriers are added as they become available.
1in order to access, view, and retain SMS -Statement Notifications that we make available to you, you must have: (1)11 SMS-capable mobile phone, (2) an active
mobile phone account with a communication service provider; and (3) sufficient storave capacity on your mobile phone.
5. All SMS Statement Notifications in electronic format from us to you will be considered ''in
6. There is no service fee for SMS Statement Notifications hut you arc responsible for any and all charges, including hut not limited to fees associated with text
messaging, imposed by your communications service provider. Other charges may apply. Such charges may include those from your communications servioc pinvidar.
Please consult your mobile service carrier's pricing plan to determine (he charges tbr sending and receiving text messages, 'these charges will aPpear on your phone bill.
Message frequency depends on account settings.
7. Additionally, you agree that we may send any SMS Statement Notifications through your communication service provider in order to deliver them to you and that
your communication services provider is ataing as your agent in this capacity. Yon agree to provide a valid mobile phone number For these services so that we may
send you certain infotmation about your loan. Additionally, you agree to indemnihi, defend and hold us haimless from and against any and all claims, losses, liability,
cost and expenses (ineluding reasonable attorneys' fees) arising from your provision cis mobile phone number that is not your own or your violation of applicable
federal. state or local law, regulation or ordinance. Your obliaation under this paragraph shall survive termination o f this Ageement SVCS Statement Nutt cations are
provided tia your tiOnlvOTIlelleC Indy.
la Receipt of each SMS Statement may he delayed or impacted hy facings) pertaining to your communications service provider(s). We will not be liable for losses or
damages arising from any disclosure of account information a) third parties, non-delivery, delayed delivery, misdirected delivery or mishandling of; or inaccurate content
in, the SMS Statement Nob lications sent by as.

We may modi fy or temiinate our text ines.sagilig services from time to time, for any reason, and without notice, including the right to terminate text messaging with or
without notice, without liability, to yoLl., any other miser or third party.




 SIGNATURE. Jacinta Elder                                                                            DA I':   tidy 1, 2013

SECt: WY: Pursuant to Comment 2(a)(25) of the Federal Reserve Board Official Staff Commentary to Pcaulation 12 CFR 226.2, we have diselosed to you that
                       CICiACI 1 Authorization Aguement is a security intenst ihr 'truth-II-Leading purposes only, because federal and international law do not
our intemst in the I tCI hi

dearly address whether our interest in the PCI If (.:k..-ACEI Authoriaation Agreement is a "security interest."

ASSIGNMENT: This Agreement may not he assigned by you. We may assign or mans ler this Agretanent and our related rights and obligations without notice to you
and your consent is not required if we make such an assignment or fransfer.

GOVERN INC LAW: The laws a the Tribe will govern this Agreement. I fowever. any dispute arising out of this Loan Agreement and any renewal thereof will
be subjeel to (he A RHII.RATION PROVISION, which is governed by. the Federal Arbitration Act.
                    Case 1:16-cr-00371-RA Document         499-2 Filed 06/04/18 Page 36 of 51
                                           14.111111A l'ION AG
                     Case 8:17-cv-01807-TDC uocument 1-1       BEL:MI.:NHsied 06/30/17 Page 7 of 10
                                                                      PLEASE READ CA REFULIN


THIS AGREEMENT PROVIDES FOR RESOLUTION OE DISPUTES THROUGH FINAL AND BINDING ARBITRATION BEFORE A
NEUTRAL ARBTIRATOR AND REPLACES THE RICHT TO GO .ro couRT AND HAVE A DISPUTE RESOLVED BY A JUDGE OR JURY.
THIS AGREEMENT ALSO WAIVES YOUR ABILITY TO PARTICIPATE IN A CLASS ACTION LAWSUIT OR CLASS-WIDE ARBITRATION.


GOVERNING LAW
This Arbitration Agreement is governed by the Federal Arbitration Act, 9 U.S.C. Sections I 16 ('TAA").

WAIVER OF It RY TRIAL AND AGREEMENT "TO ARBITRATE, Unless you promptly opt-out 0 f arbitration in the manner deseribed bdour, by entering
Min this Arbitration Agreement, you are waiving your right to bring any claims that directly or indirectly arise from your nan Agreement in any wurt other than a small
claims trihunal_ Instead, you are agreeing to resolve such claims in binding and mandatory arbitration.


Arbitration is a process in which persons with a dispute (a) waive their rights to file a lawsuit and proceed in court before a judge- or jury; and (b) agyee, instead, to
submit their disputes to a neutral third person (an "arbitrator") tor a decision. Each party to the dispute has an opportunity to present some evidence to the arbitrator.
Discovery in arbitration protedings may he limited Arbitration proceedings are pvatc and less formal than court trials. The arbitrator will issue a final and bm ding
decision resolving the dispute, which may be enforced as El court thda-ment. A court rarely overturns an arbitrator's decision.

SCOPE OE THE ARBITHATRIN AGREEMENT, For purposes of this Arbitration Agreement the worths "dispute" arid "disputes" are given the broadest
possible meaning and include, without limitation (a) all claims, disputes, or controversies arising tom or relating directly or indirectly to the sipling ofthis Arbitration
Agreement the validity and scope of this Arbitration Agreement, the matters subject to arbitration under this Arbitration Agreement, and any claim or attempt to set
aside this Arbitration Agreement, including hut without limitatton C/n the basis of nneonseionability; ih) all federal or Male law claims, disputes, or controversies, arts*
from or relating directly or indirectly to the I .orin Agreement, the information you gave us hetbni entering into the Loan Ageement, including the customer information
application, and/or any past ageeMerl or agreements behveen you and us; (e) all counterclaims, cross-claims, and third-party claims; (d) all common law clthrns, based
upon contract, tort, fraud, or other wrnmon law theories; (c) all claims based upon a violation of any state or federal constitution, statute, or regulation; (f) all claims
asserted by us against you, including clairns tbr money damages to collect any sum we claim you owe us; (g) all claims asserted hy you against ths anther any of our
employees, agents, din:cites. officer N, sinai elsildei a goveinois, a ianagers, members, parent company, affiliated entities, suecessors, assigns, or subsequent holders of
your promissory note (hereinafter collectively referred to as 'related third parties:1, including claims for money damages and/or equitable or injunctive relief; (h) all
claims asserted on your bchalf by another person; (i) all claims asserted by you as a private attorney general, as a class representative. or in any other representative
capacity, or as member ofany class or pailitiVe class a_sserting clain is against us or any related third parties, (hereinafter referred to EIS "Representative Clain-15'T, and/or
6) all claims arising fruit or relanng directly or [ndirectly to the disclosure by US or related third paines of                 jeisonal information about you.

Cl ASS ACTION WAIVER. By agreeing to this Arbitration Agreement yo                  are   waiving your ability to participate nr class action litigation and/or class- wide
arbitration as a elass representative, a class member, or in any other eapaeity. This Class Action Waiver shall remain in effect even ifa court or arbitrator finds that the
agreement to arbitrate set forth in this Arbitration Ageement is unenforceable. THEREFORE YOU ACKNOWLEDGE AND AGREE AS 101.1.0WS:

       YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JI; RY TO RESOI YE ANY DISPUTE ALLEGED AGAINST LS OR
       RELATED THIRD PARTIES; and
       VOL; ARE GIVING l'P YOI, R RIGHT TO HAVE A COURT, OTHER THAN A SMALL CLAIMS TRIBUNA1., RESOlNE ANY DISPUTE
       ALLEGED AGAINST US OR RELATED •IIIIRD PARTIES; and
       YOU ART GIVING 1:P YOL R RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVNIT ATTORNEY GENERAL, OR IN ANY
       OTHER REPRESENT'ATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CI.ASS OF CI .AIMANTS, IN ANY
       LAWSUIT OR ARBITRATION EILED AGAINST US AND/OR RE I ATED 'THIRD PARTIES.


   Exixpt as provided in Paragraph 10 below, all disputes including any Representative Claims agaiast UN and/or related ftnrd parties shall be resolved by binding
arbitration on an individual basis with you only_ THEREFORE, THE ARBITRATOR SHALL NOT CONDUCT CLASS ARBITRATION; THAT IS, THE
ARBITRATOR SHALE NOT ALLOW l01. To SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY
   IIIER REPRESENTATIVE CAPACITY FOR OTHERS IN ANY ARBITRATION.


2, Any party to a dispute, including related third parties, may send the other party written nonce hy cern lied mad return receipt requested of their intent to arbitrate and
setting forth the snhjeel ofthe dispute along with the relief requested, even if a lawsuit has been fikd. Regardless of who demands arbitration, you shall have the right to
select either ofthe Itillowing arbitration or2animions to administer the arbitration: the .Arnerican Arbitration Association (hereinafter referred to as "AAA") (1-80(1-
77X-7879) http://www.adrorg or JAMS (1-100-352-5267) http://www.jamsithr.com. The parties may also agree in writing to select an arbitrator who resides within
your federal judicial district who is an attorney, retired judge. or arbitrator registered and in good standing with an arbitration assoeititioa and to arbitrate in aeeardance
with such arhitrator's rules. If (a) the AAA and JAMS arc unavailable or unwilling to arbitrate a dispute covered by this Arbitration Agreement and (h) the parties
cannot reach an agreement as to an alternative arbitrator, and (e) an action is tiled in any court other than a small claims tribunal, that couri shall appoint a substitute
arbitrator pursuant to Section 5 of the FAA.


3. The party receiving notice of arhitration shall respond in writing hy certified mail return receipt requested within twenty (20) days. If‘you demand arbitration, you
 must inform us in your demand tinkle arbitration organization you have selected or whether you desire to select a local arbitrator_ If related third parties or we demand
arbitration, !gm must notifv us within twenty 1201days in writing by certified mail returmm receipt requested of your decision to select an arbitration organintion. ffvou fail
to notify us, then we have the right to seled an arbitration organization. .Arbitnit ion proceedings will be governed by the rules and procedures ofthe selected arbitration

organization or arbitrator, except to the extent such rules and procedures contradict the terms of this Arbftration Agreement, including the limitations on the arbitrator
below. You may obtain a copy of the rules and procedures ofthe AAA and JAMS hv contacting them at the contact information listed above.

 4. Regardless of who demands arbitration, unless you request otherwise we will advanoe your portion of the arbitration expenses, Mcluding the tiling, administrative,
 heanng, and arbitrator's fees ("Arbitration Fees"). throughout the arbitration. each piny shall lxar his ur her own attorneys' fees and ex peases, such as witness and
 expert witness fees. The arbitrator shall apply. applicable substantive law coasistent with the FAA: and applicable statutes of limitation. and shall honor claims cif
 privilege recognized at law, '1 he arbitrator may award any relict available under applicable law, subject. to the [Imitations set torth in this Arbitration Agreement, I be
 arbitration heanng will bc conducted in the coanty olvour resident. The arbitrator may decide, with or without a hearing, any motion that i,s substantially similar to a
 motion to dismiss for failure to state a claim or a motion [la summary judgment If the arbitrator renders a decision or an award in your favor resolving the dispute, then
 you will not Ix responsible for reimbursing us ftr your portion &the Arbitration Fees, anti we will reimburse you for any Arbitration Fees you have previously paid. If
 the arbitrator does not rendet a decision or an award in your f4vor resolving the dispute, then the arbitrator shall require you to reimburse us for the Arbitration Fees we
 have advanced, not to =weed the amount which would have been assessed as eourt costs ifthe dispute had been resolved by. a state court with jurisdiction, less any
 Arbitration Pees you have previously paid. Al the timely request of any party, the arbitrator shall provide a written explanation for the awarth The arbitrator's award
                  Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 37 of 51
may he filed with any court having jurisdiction.
                   Case 8:17-cv-01807-TDC Document 1-1 Filed 06/30/17 Page 8 of 10
5. The arbitrator   award
                  may     reasonable attorneysfees and
                               you                     if  in arbitration and does not
                                                                       L-xpcnses you substantially prevail                      applicable faw          pnihibit such an award.
If we or related third parties substantially prevail in arbitration, the arbitralor may not award u.s or related third parties reasonable attorneys' fees and expenses unless
the al bitraloi also linds dial y011 ELS:A:Tied Ihvolous or fraudulent elauns or allegations.


6. PRE-ARH FIRATION SETTLEMENT OFFER AND MINIMUM RECOVERY. lf you make a written request for a pre-Irbitratiort 8ettremertt offer from us
in the mariner described below and the arbitrator awards you damages in an amount greater than our last pre-arbitration settlement oiler, we will be liable to you flu- the
greater of S5, 000 or die arbitrator's damages award, exclusive or any other Mit:Stile arbitrator may award you, including reasonable attorneys' fees and expenses. For
purposes of this Paraaraph only, if you properly request a pre-arbitration settlement offer from us and wc do not make 0110, the Parties shall treat our last pre-
arbitration settlement oiler as being for zero dollars. Any request for a pre-arbitration settlement otter must bc made in writing and submitted to the below listed
address:


                                                                     Wakpanmi Lake Community Corporation
                                                                              do Seaside Payday
                                                                                   P.O. Box 6048
                                                                                Pine Ridge, SD 57770
                                                                                 Phone: 8667353525
                                                                                  Fax: 8667356855


To he valid, a request must include your name, address, account number, or social security number, the date of your Loan Agreement, and a clear arid aCCurifte
description of your claims and any supporting facts. We shall have Murteen days lo respond to your request, unless we and you otherwise agree in writing. Although we
are entitled to make more than one     pre-arbitration sr:ult./nem Mier, if we dloose not to make more than one offer, our first offer shall be considered our last offer for
purposes of this Paragmph regardless of whether you make additional requests. 'the Minimum Recovery provision of this Paragraph shall only apply to a damages
award you obtain based on the same or materially similar claims and supporting facts as those set forth in your request Mr a pre-arbitration settlement offer.


7. All parties, Mehiding related third parties, shall retain the nght to seek adjudication in a small claims tribunal in the county ofyour residence for disputes within the

scope of such tribunal's jurisdiction. Any dispute, which cannot he adjudicated within the jurisdiction of a small claims tribunal, shall be- reso.rtt.....y
                                                                                                                                                   r     b _rung
                                                                                                                                                               +1   arbiinition.
Any appeal of a judgment from a small claims tribunal shall be resolved by binding arbitration.

8. 'this Arbitration Agreement is made pursuant to a transaction involvins interstate comnieree and shall be governed by the FAA. Ifa final non-appealable judgment of
a court   having jurisdiction over this transaction finds, for any reason, that the FAA does not apply to this transaction, then our agreement to arbitrate shall he governed
by thc arbitration law of the Tribe.

9_ This Arbil:ninon Agreement is binding upon and benefits you, your respective heirs, successors, and assigns. This Arbitration Agreement is binding upon and henefiis
us, our sucesors and assigts, and related third parties This Arbitration Agreement continues in full force and elfect, even if your obligations have been paid or
discharged throueh bankruptcy. This Arbitration Agreement survives any cancellation, termination, amendment: expiration, or perlinmanec of any transaction between
you and us and continues in full force and etTeet unless you and we otherwise agree 41 writing. If any part of this Arbitration Ageement is held invalid_ the remainder,
including the Class Action Waiver, shall remain in effect.

10. OFF-OUT PROCESS, You may choose to opt out of the Arbitration Agreement, but only by tbilowing the process set-forth below. Ifyou do not wish to be
subject to this Arbitration Agreement, then you must notify us in writing lAithin sixty (601 calendar days of the datc of this Arbitration Agreement at the following
address:


                                                                     Wakparnni I ake Community Corporation
                                                                              c/o Seaside Payday
                                                                                  P.O. Box 6048
                                                                               Pine R idge, SI) 57770

Your written notice must include your name, address, account number or social security number, the date of this Arbitration Agreetnent, and a statement that vou wish
tO opt oul onbis Arbitration Agreement. If' you choose tO Opt Out, then your ehoiec will apply only to your I man Agreement and will not apply to any other contracLs,

agreements, or other claims between you and us and any related third parties.
SIGNATIJRE: Jacinto. Eldcr                                                                              DATE: July 1, 2013
                     Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 38 of 51
By electronica Ily   siPtSgisa47eirRi1114WrigIPPtii1P.39titWOP.;tkeirtify Fhillgiclig§/AP/A It7oPra@oPia thing.greement                                         0. tme

and correct. You authorize us to verify the infrirmation given in connection with this Agreement, and you give us consent to obtain information about you fmm
consumer  reporting agency or other sources. You acknowledge, represent and warrant that: (a) you have read, understand, and agree to all of the terms and
conditions of this Agreement, including the Arbitration Agreement and the waivers contained in the Arbitration Agreement of any rights to a jury trial
and any rights to participate in class proceedings, (h) this Agreement contains all of the terms of the agreement between you and us and that no
representations or promises other than those contained in this Agreentent have been made, (e) you specifically authorize withdrawals and deposits to
and from your Rank Account as described in this Agreement, if you have elected to repay this loan via ACH debits to your Bank Amount (as set forth

below) [TFIDI, (d) you are not a debtor under any proceeding in Bankruptcy and have no intention Mille a petition for relief under any chapter of the
UniMd States Bankruptcy Code, (e) this Agreement was filled in before you signed it, (f) you have received a copy of our privacy policy, and (g) you
have the ability to print or retain a completed copy of this Agreement. You further acknowledge that we may withhold funding of your loan until we
ensure all the information you gave us on      your application is true and HT decide whether you meet our r equirements to receive the Loan.



6; I AGREE to all of the terms and conditions set forth above.

S1GNATURE:JaCinta Elder                                                                            DAM:July 1, 2013

PLEASE MAKE YOI:R SELIA MON
     ELECTRONIC (as soon as the next business day): Hy ehecking here, you authorize us to effect ACI I debit and el-edit entries for this loan. You also agree to
all of the terms in the separate ACH Authorization. The ACI I Authori7ation may be used by Seaside P'ayday, its assigns, employees or agents.


 r POSTAI. MAIL: By checking here,
                                             you request Loan proceeds be distributed to you by check and delivered by regular mail to the address listed on this loan
agmcment If you elect to receive your procc.,eds by mail, you must also makc your payments (via money order or certified check) hy mail. You should allow sufficient
time (at least '7 calendar days) for delivery of the Loan proceeds. Note also that interest begins accruing on the date we issue the check tbr the Loan proceds (which is
typically no less than one day after your execution of this Agreement).
                      Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 39 of 51
                      Case 8:17-cv-01807-TDe:INU160-211LMMal 06/30/17 Page 10 of 10
READ VERY CAREFULLY BEFORE SIGNING. PLEASE REFER '1'0 THE TERMS OF THE ACH AUTHORIZATION OR LOAN AGREEMENT
TO DETERMINE O. l'HER REPAYMENT OPTIONS.

YOU ARE NOT REQUIRED TO PROVIDE Tit tS A UTI i0 tuf:YrION TO OBT•IN A LOAN.



AC.11 A CIHORIIATION; Yon hereby voluntarily authorize us, and our successors and assigns, to initiate an Automated Clearing House ("AC H") credit and/or
debit entry to Your Bank Account as described below:

"YOUR BANK ACCOUNT' INEO:
Name:Jacinta Eider                                                                   Bank Name:PNC BANK, NA


Address:4701 Willard Ave                                                             Transit ABA Nurnber


(Uy, State Zip:Chevy Chase, MI) 20815                                                Checking Account Number

Phone.


Amount:S500.00


Payment Due Date:July 19. 2013


This ACH Authorization is a part at and relates to the l oan Agreement set forth above (-Loan Agra:mere). Unless otherwise defined in this ACH Authorization,
capitalized terms used herein shall have the meanings assigned to such terms in the I oan Agecment. The words "you", ''your" and "1' mean the borrower who has
electronically signed it. The words "we, "us" and "our" mean Seaside Payday ("1.ender), a licensed lender of consumer loans regulated by the laws a f Wakparrmi Lake
Community Corporation, a sosemign nation Tribal entity operating within the boundaries of the .fribe's Reservainon. You hereby voluntarily authorize us, and our
               igis, to initiate automatic ACH credit and debit entries to Your Bank Account in accordance with the Loan Agreement. You agree that we will
successors anti ass

initiate an ACH credit entry to Your Bank Account for the Amount I' inanced on or about the Dishursemunt Date of your Loan proceeds_

You also authorize us to initiate an ACH debit entry to Your Bank Account


(a) each payment due on its Payment Due Date, as set tbrth in the Payment Schedule, as described in the I "Dan Agreement; and

(b) for any accrued fees as described in the Loan Agreement.

You agree that we may re-initiate a debit entry for the same amount two additional times if the ACH dehit entry is dishonored or payment is returned for any reason.
This ACH Authorization is to remain in firlI knee an.d effect fbr this transaction until your indebtedness to us tbr the Total of Payments. plus any other charges or fees
ineurred and &sr:M-3W in the loan Agreement, is firlly satisfied. You may only revoke the above ACE Authorization by contacting us directly as described below_ If
you revoke your ACTI Authorizatirm, you agree to provide us with another hum of payment acceptable to us and you authorize us to prepare and submit one or more
checks drawn on Your Bank Account so long as amounts are owed to us under the 1. Aian Aga.ment. In no event shall any revocation affect prior payments made to us

pursuant to this Authorization, constitute. an event of default under the Loan Ageement.

If a payment is returned unpaid, you roithorize us to make a one-time electronic fUnd transfer from Your Bank Account to collect a te of $30. Yim voluntarily authorize
us: and our successor and assigns, ru initiate a debit entry ID Your Bank Account for payment of this tee. You Maher authorize us to initiate debit entries as necessary
to recoup the outstanding loan balance whenever tin ACT I transaction is returned to us for any reason. You acknowledge that the account on which your AL:I I

Authorization is drawn is a legitimate, open and active aca)unt.


Warty Payment Due Date is not a business day, the debit authorized by this ACH Authorization will occur on the next thllowing business day.
You authorize us to verify sill of the information that you have provided, including past. and/or current inthrmation. You agree that the ACH Authorization herein is for
repayment of loan and that these entries will aoNar as described in I .oan Agreement If there is any missing or erroneous intbnnation in this ACH Authorization
regarding your bank, hank routing and transit number: OF account number, then you authorize us to vo-ify and correct such infarmution.

If your payment is returned to us by your financial institution due to insufficient funds ot a closod account, you agree that we may recover court costs arid reasonable
anornev's fees incurred hy us.


Right to stop payment and procedure for doing so. If you have told us in advance to make regular payments out of your account, you can stop any of thcse
payments. t fere's how;

Cail us at 8667353525, or write ni sit Support@seasidepaylay corn, in time f or iistO rcrntsoyoiir request "1 hnsiness days or more halm rhe payment is scheduled to
he madel f you call: we may also require you to put your request in writing and get it to as within 14 days atter you call.

Notice of varying amounts. We will provide 10 days' prior notice to you before we debit your bank account ifthe payment due is gearer than your payment due on
any Payment Due Date plus any applicable fees and charges (as detemtined pursuant to the I .oan Agreement).

        .ffir la there to 5top pnyme 171 ofpreauMorized transfer. If you order us to stop one of these payments 3 business days or more before the transfer is
scheduled: and we do not do so: we will he liable thr your losses or damages.

                                                                                  AGREE
-This ACH AUTHORIZA.VION is received and executed on July 1, 2013


 Signature: laetnta Elder
                             Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 40 of 51
JS 44 (Rev. 0/16)                               CIVILDocument
                              Case 8:17-cv-01807-TDC   COVER 1-2
                                                               SHEET
                                                                   Filed 06/30/17 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                       DEFENDANTS
                                                                                                      RYAN SULLIVAN, ASHLEY BLAKE COLLINS, RAYCEN RAINES,
JACINTA ELDER                                                                                         GENEVA LONE HILL, and WAKPAMNI LAKE COMMUNITY
                                                                                                      CORPORATION,
   (b) County of Residence of First Listed Plaintiff        Jefferson County, KY                        County of Residence of First Listed Defendant
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
Tycko & Zavareei LLP
1828 L St. NW, Ste 1000, Washington, DC 20036
(202) 973-0900

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government           u 3    Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                        (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place      u 4      u 4
                                                                                                                                                   of Business In This State

u 2    U.S. Government           u 4    Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                        (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                               Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                        TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u 110 Insurance                    PERSONAL INJURY               PERSONAL INJURY               u 625 Drug Related Seizure          u 422 Appeal 28 USC 158           u 375 False Claims Act
u 120 Marine                     u 310 Airplane               u 365 Personal Injury -                of Property 21 USC 881        u 423 Withdrawal                  u 376 Qui Tam (31 USC
u 130 Miller Act                 u 315 Airplane Product             Product Liability          u 690 Other                               28 USC 157                        3729(a))
u 140 Negotiable Instrument             Liability             u 367 Health Care/                                                                                     u 400 State Reapportionment
u 150 Recovery of Overpayment u 320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                 u 410 Antitrust
      & Enforcement of Judgment         Slander                     Personal Injury                                                u 820 Copyrights                  u 430 Banks and Banking
u 151 Medicare Act               u 330 Federal Employers’           Product Liability                                              u 830 Patent                      u 450 Commerce
u 152 Recovery of Defaulted             Liability             u 368 Asbestos Personal                                              u 840 Trademark                   u 460 Deportation
      Student Loans              u 340 Marine                       Injury Product                                                                                   u 470 Racketeer Influenced and
      (Excludes Veterans)        u 345 Marine Product               Liability                              LABOR                     SOCIAL SECURITY                       Corrupt Organizations
u 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY               u 710 Fair Labor Standards          u 861 HIA (1395ff)                u 480 Consumer Credit
      of Veteran’s Benefits      u 350 Motor Vehicle          u 370 Other Fraud                       Act                          u 862 Black Lung (923)            u 490 Cable/Sat TV
u 160 Stockholders’ Suits        u 355 Motor Vehicle          u 371 Truth in Lending           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))          u 850 Securities/Commodities/
u 190 Other Contract                   Product Liability      u 380 Other Personal                    Relations                    u 864 SSID Title XVI                    Exchange
u 195 Contract Product Liability u 360 Other Personal               Property Damage            u 740 Railway Labor Act             u 865 RSI (405(g))                u 890 Other Statutory Actions
u 196 Franchise                        Injury                 u 385 Property Damage            u 751 Family and Medical                                              u 891 Agricultural Acts
                                 u 362 Personal Injury -            Product Liability                 Leave Act                                                      u 893 Environmental Matters
                                       Medical Malpractice                                     u 790 Other Labor Litigation                                          u 895 Freedom of Information
      REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS              u 791 Employee Retirement             FEDERAL TAX SUITS                     Act
u 210 Land Condemnation          u 440 Other Civil Rights       Habeas Corpus:                       Income Security Act           u 870 Taxes (U.S. Plaintiff       u 896 Arbitration
u 220 Foreclosure                u 441 Voting                 u 463 Alien Detainee                                                        or Defendant)              u 899 Administrative Procedure
u 230 Rent Lease & Ejectment     u 442 Employment             u 510 Motions to Vacate                                              u 871 IRS—Third Party                   Act/Review or Appeal of
u 240 Torts to Land              u 443 Housing/                     Sentence                                                              26 USC 7609                      Agency Decision
u 245 Tort Product Liability           Accommodations         u 530 General                                                                                          u 950 Constitutionality of
u 290 All Other Real Property    u 445 Amer. w/Disabilities - u 535 Death Penalty                    IMMIGRATION                                                           State Statutes
                                       Employment               Other:                         u 462 Naturalization Application
                                 u 446 Amer. w/Disabilities - u 540 Mandamus & Other           u 465 Other Immigration
                                       Other                  u 550 Civil Rights                     Actions
                                 u 448 Education              u 555 Prison Condition
                                                              u 560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from           u 3       Remanded from               u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                      Appellate Court                 Reopened                Another District             Litigation -                    Litigation -
                                                                                                                  (specify)                        Transfer                       Direct File
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     18 U.S.C. § 1962
VI. CAUSE OF ACTION Brief description of cause:
                                     Violation of RICO and Maryland Usury law
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                           DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                   5,000,000.00                             JURY DEMAND:         u Yes     u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                       DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
06/30/2017                                                       /s/ Hassan Zavareei
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                    APPLYING IFP                                      JUDGE                          MAG. JUDGE
JS 44 Reverse (Rev. 0/16)   Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 41 of 51
                              Case 8:17-cv-01807-TDC Document 1-2 Filed 06/30/17 Page 2 of 2
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                   Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 42 of 51
                    Case 8:17-cv-01807-TDC Document 1-3 Filed 06/30/17 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

                         Jacinta Elder                                )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
                                                                      )
  RYAN SULLIVAN, ASHLEY BLAKE COLLINS,                                )
  RAYCEN RAINES, GENEVA LONE HILL, and                                )
 WAKPAMNI LAKE COMMUNITY CORPORATION,                                 )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ashley Blake Collins
                                           3586 E LATHAM WAY
                                           GILBERT, AZ 85297




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hassan A. Zavareei
                                           Tycko & Zavareei LLP
                                           1828 L Street, N.W., Suite 1000
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 43 of 51
                     Case 8:17-cv-01807-TDC Document 1-3 Filed 06/30/17 Page 2 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 44 of 51
                    Case 8:17-cv-01807-TDC Document 1-4 Filed 06/30/17 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

                         Jacinta Elder                                )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
                                                                      )
  RYAN SULLIVAN, ASHLEY BLAKE COLLINS,                                )
  RAYCEN RAINES, GENEVA LONE HILL, and                                )
 WAKPAMNI LAKE COMMUNITY CORPORATION,                                 )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Geneva Lone Hill
                                           One Wakpamni Lake Housing
                                           Batesland, SD 57716




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hassan A. Zavareei
                                           Tycko & Zavareei LLP
                                           1828 L Street, N.W., Suite 1000
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 45 of 51
                     Case 8:17-cv-01807-TDC Document 1-4 Filed 06/30/17 Page 2 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 46 of 51
                    Case 8:17-cv-01807-TDC Document 1-5 Filed 06/30/17 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

                         Jacinta Elder                                )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
                                                                      )
  RYAN SULLIVAN, ASHLEY BLAKE COLLINS,                                )
  RAYCEN RAINES, GENEVA LONE HILL, and                                )
 WAKPAMNI LAKE COMMUNITY CORPORATION,                                 )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Raycen Raines
                                           One Wakpamni Lake Housing
                                           Batesland, SD 57716




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hassan A. Zavareei
                                           Tycko & Zavareei LLP
                                           1828 L Street, N.W., Suite 1000
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 47 of 51
                     Case 8:17-cv-01807-TDC Document 1-5 Filed 06/30/17 Page 2 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 48 of 51
                    Case 8:17-cv-01807-TDC Document 1-6 Filed 06/30/17 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

                         Jacinta Elder                                   )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                               Civil Action No.
                                                                         )
                                                                         )
  RYAN SULLIVAN, ASHLEY BLAKE COLLINS,                                   )
  RAYCEN RAINES,GENEVA LONE HILL, and                                    )
 WAKPAMNI LAKE COMMUNITY CORPORATION,                                    )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ryan Sullivan
                                           2310 W. 75th St,
                                           Prairie Village, KS 66208




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hassan A. Zavareei
                                           Tycko & Zavareei LLP
                                           1828 L Street, N.W., Suite 1000
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk
                    Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 49 of 51
                     Case 8:17-cv-01807-TDC Document 1-6 Filed 06/30/17 Page 2 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 50 of 51
                    Case 8:17-cv-01807-TDC Document 1-7 Filed 06/30/17 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

                         Jacinta Elder                                )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
                                                                      )
  RYAN SULLIVAN, ASHLEY BLAKE COLLINS,                                )
  RAYCEN RAINES,GENEVA LONE HILL, and                                 )
 WAKPAMNI LAKE COMMUNITY CORPORATION,                                 )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Wakpamni Lake Community Corporation
                                           One Wakpamni Lake Housing
                                           Batesland, SD 57716

                                           SERVE: Geneva Lone Hill



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hassan A. Zavareei
                                           Tycko & Zavareei LLP
                                           1828 L Street, N.W., Suite 1000
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 1:16-cr-00371-RA Document 499-2 Filed 06/04/18 Page 51 of 51
                     Case 8:17-cv-01807-TDC Document 1-7 Filed 06/30/17 Page 2 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
